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AO 245B       (Rev. 09/13) Judgment in a Criminal Case
              Sheet 1



                                        UNITED STATES DISTRICT COURT
                                                         Southern   District of     Indiana
                                                                      )
            UNITED STATES OF AMERICA                                  )      JUDGMENT IN A CRIMINAL CASE
                                   v.                                 )
                                                                      )
            BARBARA KIMMONS-MILLER                                    )      Case Number: 3:13CR00046-009
                                                                      )
                                                                             USM Number: 15905-042
                                                                      )
                                                                      )      Conor M. O’Daniel
                                                                            Defendant’s Attorney
THE DEFENDANT:
   pleaded guilty to count(s) 2
   pleaded nolo contendere to count(s)
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

   Title & Section                 Nature of Offense                                               Offense Ended             Count

     18 U.S.C. §                   Money Laundering                                                  8/31/2013                 2
   1956(a)(1)(A)(i)                (Misdemeanor)



       The defendant is sentenced as provided in pages 2 through           4       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                  is     are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

                                                                    9/9/2015
                                                                    Date of Imposition of Judgment


    A CERTIFIED TRUE COPY
    Laura A. Briggs, Clerk                                           __________________________________
                                                                    Signature of Judge
    U.S. District Court
    Southern District of Indiana
                                                                     RICHARD L. YOUNG, CHIEF JUDGE
                                                                     United
                                                                    The     States
                                                                        Honorable    District
                                                                                  Richard     Court U.S. District Court Chief Judge
                                                                                           L. Young,
    By                                                               Southern  District  of
                                                                    Name and Title of Judge Indiana
                          Deputy Clerk

                                                                      9/21/2015
                                                                    Date
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AO 245B    (Rev. 09/13) Judgment in Criminal Case
           Sheet 2 — Imprisonment

                                                                                                         Judgment — Page   2   of   4
 DEFENDANT: BARBARA KIMMONS-MILLER
 CASE NUMBER: 3:13CR00046-009



                                                             IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:   Time Served




          The court makes the following recommendations to the Bureau of Prisons:




          The defendant is remanded to the custody of the United States Marshal.

          The defendant shall surrender to the United States Marshal for this district:
              at                                      a.m.         p.m.       on                                      .
              as notified by the United States Marshal.

          The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
              before 2 p.m. on                                            .
              as notified by the United States Marshal.
              as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                         to

 at                                                 , with a certified copy of this judgment.


                                                                                                UNITED STATES MARSHAL


                                                                          By
                                                                                         DEPUTY UNITED STATES MARSHAL
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AO 245B    (Rev. 09/13) Judgment in a Criminal Case
           Sheet 5 — Criminal Monetary Penalties

                                                                                                          Judgment — Page   3    of    4
 DEFENDANT: BARBARA KIMMONS-MILLER
 CASE NUMBER: 3:13CR00046-009

                                             CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                        Assessment                                     Fine                                   Restitution
 TOTALS             $ 50.00                                        $                                      $

     The determination of restitution is deferred until                . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
     otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
     victims must be paid before the United States is paid.

          Name of Payee                           Total Loss*                       Restitution Ordered             Priority or Percentage




 TOTALS                                $                                        $

      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
      the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
      subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

            the interest requirement is waived for the          fine          restitution.

            the interest requirement for the            fine      restitution is modified as follows:

 * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
 on or after September 13, 1994, but before April 23, 1996.
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 AO 245B     (Rev. 09/13) Judgment in a Criminal Case
             Sheet 6 — Schedule of Payments

                                                                                                                     Judgment — Page      4    of    4
   DEFENDANT: BARBARA KIMMONS-MILLER
   CASE NUMBER: 3:13CR00046-009
                                                         SCHEDULE OF PAYMENTS
   Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

   A             Lump sum payment of $                                     due immediately, balance due

                       not later than                                          , or
                       in accordance                    C,          D,             E, or       G below; or
   B             Payment to begin immediately (may be combined with                          C,          D, or         G below); or
   C             Payment in                            (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                                 (e.g., months or years), to commence                    (e.g., 30 or 60 days) after the date of this judgment; or

   D             Payment in                                  (e.g., weekly, monthly, quarterly) installments of                        over a period of
                               (e.g., months or years), to commence                    (e.g., 30 or 60 days) after release from imprisonment to a
                 term of supervision; or
   E             Payment during the term of supervised release will commence within               (e.g., 30 or 60 days) after release from
                 imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time;
   F             If this case involves other defendants, each may be held jointly and severally liable for payment of all or part of the
                 restitution ordered herein and the Court may order such payment in the future. The victims' recovery is limited to the
                 amount of loss, and the defendant's liability for restitution ceases if and when the victims receive full restitution.
   G             Special instructions regarding the payment of criminal monetary penalties:



   Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
   due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
   Inmate Financial Responsibility Program, are made to the clerk of the court.

   The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
              Joint and Several
              Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
              Amount, and corresponding payee, if appropriate.
                              Defendant Name                                       Case Number                         Joint & Several Amount




              The defendant shall pay the cost of prosecution.
              The defendant shall pay the following court cost(s):
              The defendant shall forfeit the defendant’s interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
